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DECLARATION OF AUTOMATIC STAY: 17 JANUARY 2021

I would like to notify you of violations by Creditor of the Terms of this Line of Credit and demand
Automatic Stay of all debt servicing charges until all such violations, disputes and investigations are
concluded. “Concluded,” for the purposes of this Automatic Stay Declaration, shall be defined as:
completion of all such disputes and errors and acknowledgement by both Creditor and Debtor that such
completion has taken place and thus the Automatic Stay shall be ended when both parties acknowledge
the conditions have been fulfilled in good faith by Creditor and all other parties involved in such
investigations.

THEREFORE, in consideration of the foregoing, the following provisions shall be effective IMMEDIATELY:

Pursuant to specified terms on Page 2 of this Account Statement, under the Section “What to Do if You
Think you Find a Mistake On Your Statement.” Debtor has provided a written letter of various disputes in
relation to the Account Number Ending 6414, and has received confirmation from M&T Bank via Verified
Email that Creditor has received and acknowledged receipt of such Dispute (email included in annex),
thus the Conditions precedent have been fulfilled pursuant to the Terms of such Credit Agreement in
the aforementioned Section (Page 2, Account Statement Ending 6414).

In recognition of the fulfillment of the required conditions, the following is true while Creditor
investigates whether or not there has been an error:

Creditor cannot try to collect the amount in question, or report Debtor as delinquent on that amount.

The above provision shall have been deemed effective on 30 December 2020. Thus, Minimum Payment
Due shall be considered to be equal to $0.0 on each Monthly Statement until such investigations are
completed.



Thank you.




Bryce Carrasco
